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 1   Christopher A. Seeger, Admitted Pro Hac Vice
     Email: cseeger@seegerweiss.com
 2   SEEGER WEISS LLP
     55 Challenger Road, 6th Fl.
 3   Ridgefield Park, New Jersey 07660
     Telephone: (212) 584-0700
 4
     Facsimile: (212) 584-0799
 5
     James E. Cecchi, Admitted Pro Hac Vice
 6   Email: jcecchi@carellabyrne.com
     CARELLA, BYRNE, CECCHI, OLSTEIN
 7   BRODY & AGENLLO, P.C.
     5 Becker Farm Road
 8
     Roseland, New Jersey 07068
 9   Telephone: (973) 994-1700
     Facsimile: (973) 994-1744
10
     Counsel for Plaintiffs and the Proposed Classes
11

12                               UNITED STATES DISTRICT COURT

13                            NORTHERN DISTRICT OF CALIFORNIA
14   LINDSAY and JEFF ABERIN (a married
     couple), DON AWTREY, CHARLES                         No. 3:16-cv-04384-JST
15
     BURGESS, JOHN KELLY, YUN-FEI LOU,
16   JOY MATZA, and MELISSA YEUNG,
     individually and on behalf of all others similarly
17   situated,                                            STIPULATI ON AND [PROPOSED]
                                                          ORDER FOR SCHEDULE OF PRETRIAL
18                                         Plaintiffs,    EVENTS THROUGH BRIEFING
            v.                                            RELATED TO PLAINTIFFS’ MOTION
19                                                        FOR CLASS CERTIFICATION
20   AMERICAN HONDA MOTOR COMPANY,
     INC.,
21
                                           Defendant.
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     STIPULATION AND [PROPOSED] ORDER FOR SCHEDULE OF PRETRIAL EVENTS
     THROUGH BRIEFING RELATED TO CLASS CERTIFICATION

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 1          Plaintiffs Lindsay and Jeff Aberin, Don Awtrey, Charles Burgess, John Kelly, Yun-Fei

 2   Lou, Joy Matza and Melissa Yeung (collectively “Plaintiffs”) and Defendant American Honda

 3   Motor Co., Inc. (“AHM”), by and through their respective counsel and pursuant to the direction
 4
     of the Court (ECF No. 155) hereby propose the following schedule to govern the litigation
 5
     through to the completion of briefing related to Plaintiffs’ Motion for Class Certification.
 6
            This schedule adopts the Schedule of Pretrial Events through Decision on Plaintiffs’
 7
     Motion for Class Certification (ECF No. 54) which approved a schedule based on the then-
 8
 9   undetermined date of the close of pleadings as the starting point of deadlines for the close of

10   discovery and the subsequent briefing related to class certification. Pleadings closed on May 28,
11   2018 when Defendant filed its Answer to Plaintiffs’ Third Amended Class Action Complaint
12
     (ECF No. 149).
13
     Close of Discovery in Advance of Class Certification:
14
            Close of Fact Discovery – February 28, 2019 (Close of Pleadings + 9 months)
15

16          Close of Expert Discovery in Advance of and Related to Class Certification – April 29.

17          2019 (Close of Fact Discovery + 2 Months).

18   Briefing Related to Plaintiffs’ Motion for Class Certification:
19          Motion in Support of Class Certification – May 29, 2019 (Close of Expert Discovery +
20
     30 days).
21
            Opposition to Motion for Class Certification – July 15, 2019 (Motion for Class
22
            Certification + 45 days).
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24          Reply in Support of Class Certification – August 14, 2019 (Opposition to Class

25   Certification + 30 days).

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     THROUGH BRIEFING RELATED TO CLASS CERTIFICATION

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 1   DATED: September 25, 2018           Respectfully Submitted,

 2
     KING & SPALDING LLP                 SEEGER WEISS LLP
 3
     By: /s/ Livia M. Kiser              By: /s/ Christopher A. Seeger
 4   Livia M. Kiser (SBN 285411)         Christopher A. Seeger, Admitted Pro Hac Vice
 5   Email: lkiser@kslaw.com             Email: cseeger@seegerweiss.com
     KING & SPALDING LLP                 Stephen A. Weiss, Admitted Pro Hac Vice
 6   444 West Lake Street, Suite 1650    Email: sweiss@seegerweiss.com
     Chicago, IL 60606                   Scott Alan George, Admitted Pro Hac Vice
 7   Tel: (312) 995-6333                 Email: sgeorge@seegerweiss.com
     Facsimile: 312 995 6330             55 Challenger Road, 6th Fl.
 8                                       Ridgefield Park, New Jersey 07660
 9                                       Telephone: (212) 584-0700
                                         Facsimile: (212) 584-0799
10
                                         James E. Cecchi, Admitted Pro Hac Vice
11                                       Email: jcecchi@carellabyrne.com
                                         CARELLA, BYRNE, CECCHI, OLSTEIN,
12
                                           BRODY & AGNELLO, P.C.
13                                       5 Becker Farm Road
                                         Roseland, New Jersey 07068
14                                       Telephone: (973) 994-1700
                                         Facsimile: (973) 994-1744
15
                                         Counsel for Plaintiffs and the Proposed Classes
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 1                                      [PROPOSED] ORDER

 2   IT IS ORDERED that the Schedule of Pretrial Events through Briefing Related to Plaintiffs’

 3   Motion for Class Certification is APPROVED.
 4
 5   DATED:
 6                                                          TIGAR, J.

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     STIPULATION AND [PROPOSED] ORDER FOR SCHEDULE OF PRETRIAL EVENTS
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 1                                     SIGNATURE ATTESTATION
 2            I am the ECF User whose identification and password are being used to file the
 3   foregoing Stipulation and Proposed Order. In compliance with Civil Local Rule 5.1, I hereby
 4   attest that the signatory has concurred in this filing.
 5

 6   Dated: September 25, 2018                       By: /s/ Christopher A. Seeger
 7                                                   Christopher A. Seeger

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     STIPULATION AND [PROPOSED] ORDER FOR SCHEDULE OF PRETRIAL EVENTS
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